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Counsel to Plaintiff Runway Liquidation, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                       Chapter 11
                                                                 1
RUNWAY LIQUIDATION HOLDINGS, LLC, et al.,
                                                                       Case No. 17-10466 (SCC)
                                   Debtors.
                                                                       (Jointly Administered)


DAVID MacGREEVEY, solely in his capacity as
PLAN ADMINISTRATOR FOR RUNWAY                                          Adv. Proc. No. ______________
LIQUIDATION HOLDINGS, LLC, and its
affiliated POST-EFFECTIVE DATE DEBTORS

                                   Plaintiff,

         v.

AZRIA ENTERPRISES, INC. and AZ6, LLC,

                                   Defendants.




1
 A list of the Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC (6857);
Runway Liquidation, LLC (5942); Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation, LLC
(9200); and MMH Liquidation, LLC (3854).


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                                                   COMPLAINT

           Plaintiff David MacGreevey, in his capacity as plan administrator (the “Plan

Administrator” or “Plaintiff”) acting on behalf of Runway Liquidation Holdings, LLC (Runway

Liquidation Holdings”), and its affiliated post-effective date debtors (collectively, the “Post-

Effective Date Debtors” and before the Effective Date of the Plan, the “Debtors”), for his

Complaint against Azria Enterprises, Inc. and AZ6, LLC (collectively, the “Defendants”), alleges

upon knowledge as to his own status, and upon information and belief as to all other matters, as

follows:

                                                Nature of the Action

                    1.       Plaintiff brings this action against the Defendants in connection with the

breach of the Operating Agreement (defined below) that they entered into on February 5, 2015 as

members of BCBG Max Azria Global Holdings, LLC (“BCBG Global Holdings”)

                                                     The Parties

                    2.       Pursuant to Article IV, Section D of the Amended Joint Plan of

Reorganization of BCBG Max Azria Global Holdings LLC and its Debtor Affiliates Pursuant to

Chapter 11 of the Bankruptcy Code filed July 21, 2017 (the “Plan”) [Docket #564], Plaintiff has

the authority to prosecute Causes of Action2, and pursuant to Article VII, Section B of the Plan,

Plaintiff has the authority to “file, withdraw, or litigate to judgment objections to Claims or

Interests.




2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Plan.


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                 3.         Defendant AZ6 is a limited liability corporation formed under the laws of

the State of Delaware with a business address at 2761 Fruitland Avenue, Vernon, California

90058. At all relevant times, Defendant AZ6 was a member of BCBG Global Holdings.

                 4.         Defendant Azria Enterprises is a corporation formed under the laws of the

State of California with a business address at 2761 Fruitland Avenue, Vernon, California 90058.

At all relevant times, Defendant Azria Enterprises was a member of BCBG Global Holdings.

                                          Jurisdiction and Venue

                 5.         This Court has jurisdiction over this adversary proceeding pursuant to

28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

                 6.         This adversary proceeding is commenced pursuant to Rule 7001(1) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) sections 548 and 550 of the

Bankruptcy Code, and the relevant state statutes.

                                             Case Background

                 7.         On February 28, 2017 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. On July 26, 2017, the

Court entered the Confirmation Order confirming the Plan and on July 31, 2017, the Effective

Date of the Plan (as that term is defined in the Plan) occurred. See Notice of (1) Entry of Order

Confirming the Amended Joint Plan of Reorganization of BCBG Max Azria Global Holdings,

LLC and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code and

(II) Occurrence of Effective Date [Docket No. 601].




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                 8.         Pursuant to the Plan, the Debtors (now known as the Post-Effective Date

Debtors) continue in existence after the Effective Date of the Plan (as that term is defined in the

Plan) for purposes of, among other things, winding down the Debtors’ businesses and affairs and

prosecuting Causes of Action (as that term is defined in the Plan).
                                               Facts

                 9.         BCBG—an acronym for the French phrase “bon chic, bon genre,”

meaning “good style, good attitude”—was founded by Max Azria in Los Angeles, California in

1989. Over the course of the next three decades, BCBG grew to well over 550 retail stores across

the United States, Canada, Europe and Japan, becoming a well-known and respected name in

high-end women’s apparel and accessories.

                            The Amended and Restated Operating Agreement

                 10.        On or about February 5, 2015, Defendant AZ6, Defendant Azria

Enterprises, and certain other entities entered into an Amended and Restated Operating

Agreement of BCBG Max Azria Global Holdings, LLC (the “Operating Agreement”).

                 11.        Section 7.2 of the Operating Agreement is provides, inter alia: “[t]o the

extent [BCBG Global Holdings] is required to pay taxes with respect to any Member and there

are no contemporaneous payments or distributions to such Member from which the amount of

such taxes may be withheld, the Member shall, notwithstanding anything herein to the

contrary, promptly pay to the Company the amount of such taxes.” Operating Agreement

Section 7.2 (emphasis added).




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                                           The Tax Payments

                 12.        Between September 13, 2016 and October 17, 2016, Debtor BCBG Max

Azria Group, LLC (“Group LLC”) issued three checks on behalf of Global Holdings to state

taxing authorities (the “State Taxing Authorities”) for mandatory state non-resident tax

withholding payments of Defendants AZ6 and Azria Enterprises in the total amount of

$526,506.00, of which $7,332.00 is attributable to AZ6’s obligations and of which $519,174.00

is attributable to Azria Enterprise’s obligations.

                 13.        Specifically, on behalf of Global Holdings, September 13, 2016, Group

LLC issued check number 408178 to the State of New Jersey-Corporation Business Tax in the

amount of $372,082.00 on account of $5,325.00 in mandatory withholding payments attributable

to Defendant AZ6 and $366,847.00 in mandatory withholding payments attributable to

Defendant Azria Enterprises.

                 14.        On October 17, 2016, on behalf of Global Holdings, Group LLC issued

check number 409655 to the Indiana Department of Revenue in the amount of $14,946.00 on

account of $46.00 in mandatory withholding payments attributable to Defendant AZ6 and

$14,900.00 in mandatory withholding payments attributable to Defendant Azria Enterprises.

                 15.        On October 17, 2016, on behalf of Global Holdings, Group LLC issued

check number 409654 to the Indiana Department of Revenue in the amount of $139,388.00 on

account of $1961.00 in mandatory withholding payments attributable to Defendant AZ6 and

$137,427.00 in mandatory withholding payments attributable to Defendant Azria Enterprises.




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                 16.        Notwithstanding the requirements of Section 7.2 of the Operating

Agreement, neither Defendant AZ6 nor Defendant Azria Enterprises has reimbursed Global

Holdings or Group LLC for the payments made to the State Taxing Authorities.

                                      FIRST CLAIM FOR RELIEF
                                        (Against Defendant AZ6)
                                          (Breach of Contract)

                 17.        Plaintiff repeats and realleges the allegations in paragraphs 1 through 16,

above, as though fully set forth at herein.

                 18.        Defendant AZ6 was a party to the Operating Agreement.

                 19.        Plaintiff Runway Liquidation Holdings is the beneficiary of the Operating

Agreement.

                 20.        Defendant AZ6 breached the Operating Agreement by failing to reimburse

Runway Liquidation Holdings or Group LLC for the payments it made on its behalf to the State

Taxing Authorities.

                 21.        Plaintiff Runway Liquidation Holdings has suffered damages caused by

Defendant AZ6’s breach of the Operating Agreement in the amount of $5,325.00, plus interest,

costs, and attorneys’ fees.

                                   SECOND CLAIM FOR RELIEF
                                 (Against Defendant Azria Enterprises)
                                          (Breach of Contract)

                 22.        Plaintiff repeats and realleges the allegations in paragraphs 1 through 21,

above, as though fully set forth herein.

                 23.        Defendant Azria Enterprises was a party to the Operating Agreement.




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                 24.        Plaintiff Runway Liquidation Holdings is the beneficiary of the Operating

Agreement.

                 25.        Defendant Azria Enterprises breached the Operating Agreement by failing

to reimburse Runway Liquidation Holdings or Group LLC for the payments it made on its behalf

to the State Taxing Authorities.

                 26.        Plaintiff Runway Liquidation Holdings has suffered damages caused by

Defendant AZ6’s breach of the Operating Agreement in the amount of $366,847.00, plus

interest, costs, and attorneys’ fees.

        WHEREFORE, Plaintiff prays for judgment as follows:

        Against Defendant AZ6 in the amount of $7,332.00, plus costs of suit incurred herein,

including, without limitation, attorneys’ fees and pre- and post-judgment interest on the

judgment amount to the fullest extent allowed by applicable law;

        Against Defendant Azria Enterprises in the amount in the amount of $519,174.00, plus

costs of suit incurred herein, including, without limitation, attorneys’ fees and pre- and post-

judgment interest on the judgment amount to the fullest extent allowed by applicable law; and




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         For such other and further relief as the Court may deem just and proper.

Dated:     August 30, 2019
           New York, NY

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